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                             UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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11     AHMAD RAHEEM PRICE,
                                                Case No. 2:21-cv-06884-JLS (GJS)
12                  Plaintiff
13             v.                                JUDGMENT
14     K. CLIFTON, et al.,
15                  Defendants.
16
17          Pursuant to the Court’s Order Dismissing Action Without Prejudice,
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19          IT IS ADJUDGED that the above-captioned case is dismissed without
20    prejudice.
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22
      DATED: November 16, 2021.
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24                                          JOSEPHINE L. STATON
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25                                         JOSEPHINE L. STATON
                                           UNITED STATES DISTRICT JUDGE
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